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IO   Attorneys for Non-Party Journalist
     William Meagher
11
                                                                     UNITED ST A TES DISTRICT COURT
12                                                                                                                  l"'B
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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15   John J. Hurry and Justine Hurry, as husband and                               ) C    N
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                                                                                   ) ase o. - - - -
16   Arizona Corporati on, BRICFM LLC d/b/a                                        ) (D. Ariz. o. 14-cv-04420-NC)
17
     Corner of Paradise Ice Cream Store, a Califo rni a                            j
     Limited Liability Company                                                     ) NOTICE OF MOTION AND MOTION TO
                                '                                                     QUASH SUBPOENA ISSUED FROM A
18                             Plaintiffs,                                         )) CIVIL CASE PENDING BEFORE THE
                                                                                      UNITED ST ATES DISTRICT COURT FOR
19                                                                                 ) THE DISTRICT OF ARIZONA AND

20
                      vs.
                                                                                   j  SERVED ON NO N-PARTY JOURNALIST
     Financial Industry Regulatory Authority, Inc.,                                ) WILLIAM MEAGHER
21                                                                                 ) Hearing Date:
22
                                                                   Defendant.
                                                                                   j Hearing Time:
                                                                                   )
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     MOTION TO QUAS H SUBPOENA
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     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2            PLEASE TAKE NOTICE that o n A pril 5, 20 17, at 9.00 am, or as soon thereafter as counsel

 3   may be heard in the San Francisco Courthouse of the above-captioned Court, located at 450 Golden

 4   Gate A venue, San Francisco, California 94 102, non-party journalist William Meagher will and

 5   hereby does move this Court to quash a subpoena (the " Subpoena") issued in an ongoing action

 6   before the United States District Court fo r the District of Arizona and served on Mr. Meagher by

 7   counsel fo r John Hurry, Justine Hurry, Investment Serv ices Corporation, and BRICFM LLC

 8   (collectively " Plaintiffs"). The Subpoena seeks to compel Mr. Meagher to appear for a deposition

 9   in San Francisco, Cal ifornia, at 9:00 a. m. on March 1, 20 17, and to produce at that time

IO un pub lished documents created in the course of Mr. Meagher's newsgathering activities.

11            As set forth in more detail in the attached Memorandum of Points and Authorities,

12   Plaintiffs' Subpoena should be quashed for two reasons. First, Plaintiffs cannot compel

13   Mr. Meagher to testify because California's reporters' shield law provides Mr. Meagher with an

14   absolute immunity against being found in contempt for refusing to revea l the identity of his

15   confidential sources or disclose unpublished information acquired in connection with

16   newsgathering activities. See Cal. Const. art. I, § 2(b) and Cal. Evid. Code § 1070 (co llectively, the

17   "Cali fo rnia Shield Law"). In addition, the qualified federal reporters' privilege establ ished under

18   the First Amendment to· the United States Constitution and the California State Constitution

19   independently protects M r. Meagher from being compelled to disclose the information sought by

20   the Subpoena.

21            Th is Motion is based o n this Notice, the Memorandum of Points and Authorities, and the

22   declarations of Wi ll iam Meagher and John M. Browning, all matters of w hich thi s Court may take

23   judicial notice, including filings in Huny v. Financial Jndus/J y Regulat01y Authority, No. CV-1 4-

24   02490-PHX-ROS (0. A ri z) (the "Arizona Action"), the fi les and records in this action, and on such

25   other arg ument as may be heard by this Court.

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     Dated: February 28, 20 17             D A VIS WRIGHT TR EMAINE LLP
                                           THOMAS R. BURKE
 2
                                           ELIZABE1J:LA. MCNAM~   (pro hac vice forthcoming)
 3                                         JOHN ~i;f WNINfe, (pr a vice fo rthcoming)

 4                                          By:    j   fl~ y( -
                                                  Tho mas R. Burke
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                                           Attorneys for Non-Party Journa list Wi lliam Meagher
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                                                 MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.             SUMMARY OF ARGUMENT

 3                  The Subpoena represents an impermissible intrusion upon M r. Meagher's right to safeguard

 4   the anonymity of hi s sources and maintain the confidentiality of hi s unpublished journalistic work

 5   product. In his capacity as an investigative journa list, Mr. Meagher wrote a series of articles for

 6   The Deal Pipeline, a financial news journal , between 2013 and 20 15. These articles reported on

 7   investigations by government regulators into whether Mr. Hurry's stock brokerage firm, Scottsdale

 8   Capital Advisors Corp. ("Scottsdale"), bore any responsibility for a massive stock market fraud

 9   perpetrated by its c lients that cost investors tens of millio ns of dollars. In the course of researching

1O   hi s articles, Mr. Meagher received credible information from a confidential source(s) concerning

11   the ongoing investigation and revealing detail s about Scottsdale's relationship with the off-shore

12   clients that carried o ut the stock fraud. There was a significant and self-evident public interest in

13   Mr. Meagher's reporting on Scottsdale' s invo lvement in financial fraud and that public interest

14   encompassed the publication of the informatio n entrusted to Mr. Meagher by his confidential

15   source(s).

16                  Nearly three and a half years after the first article was published, P laintiffs seek to compel

17   Mr. Meagher into disclosing the identities of hi s sources and handing over any records of their

18   communications. In the Arizona Action that gave ri se to the Subpoena, Pla intiffs are prosecuting

19   two state law civi l claims against the Financial Industry Regulatory Authority ("FINRA"), which

20   both boil down to Plaintiffs' contention that FINRA improperly acted as M r. Meagher's

21   confidential source while investi gating Scottsdale and defamed Plaintiffs by leaking false

22   information abo ut the extent of Scottsdale's involvement in the stock market fraud committed by its

23   clients. It is evident from all that has transpired that Plaintiffs have one and only one goal from the

24   issuance of this Subpoena: to fo rce Mr. Meagher to identify whether FINRA was his confidential

25   source and to obtain other information that might be useful in making a case against FINRA or

26   others. Plaintiffs' determination to intrude upon Mr. Meagher's reporting is confirmed by the ir

27   concurrent document requests, which call fo r unpublished records of "communications between

28   [Mr. Meagher] and any source of information related to PLAINTIFFS" for a seri es of four articles


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     reporting on Scottsdale's involvement in various fraudulent schemes (the "Articles"). Although

 2   Mr. Meagher is not a named party to the Arizona Action, the Subpoena is part of a wider campaign

 3   of litigatio n gamesmanship against Mr. Meagher, which has saddled Mr. Meagher and his

 4   employer, The Deal LLC (the " Deal"), with the considerable expense of defending meri tless

 5   lawsu its in     ew York and New Hampshire.

 6              However, the law prohibits Plaintiffs from forc ing Mr. Meagher to submit to the

 7   Subpoena's demands that he divulge confidential information gathered in the course of researching

 8   the A11icles. The Cali fornia Supreme Court has recognized the strong public interest reporters have

 9   in protecting the anonymity of their confidential sources:

1O              Without an unfettered press, citizens would be far less ab le to make informed

11              pol itical, socia l, and economic choices. But the press' function as a vital source

12              of informati on is weakened whenever the abi lity of journalists to gather news is

13              impaired. Compelling a reporter to di sclose the identity of a source may

14              significantly interfere with this news gathering ability; journalists frequent ly

15              depend on informants to gather news, and confidentiality is often essential to

16              establ ishing a relatio nship with an informant.

17   J\!fitchel/ v. Superior Ct., 37 Cal. 3d 268, 274-75 ( 1984) (quoting Zerilli v. Smith, 656

18   F.2d 705, 710-11 (D.C. C ir. 198 1)). Put another way, " [c]ompell ed disclosure of

19   confidential sources unquestionably tlu·eatens a journalist's ability to secure info1mation

20   that is made avai lable to him o nly o n a confidential basis .... The deterrent effect such

21   disclosure is likely to have upon future ' undercover' investigative reporting, the

22   dividends of which are revealed in articles such as [these] threatens freedom of the press

23   and the public's need to be in fo1med." Id. at 275 (quoting Baker v. F. &. F. Inv. , 470

24   F.2d 778, 782 (2d Ci r. 1972)). In light of these prevailing interests, California law

25   "provides an absolute rather than a qualified immunity" against compelled disclosure by

26   a non-party journalist in a civil action. N. Y Times v. Superior Ct., 5 1 Cal. 3d 453 , 461

27   ( 1990).

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               Ultimately. Mr. Meagher's interest in protecting his confidential sources and safeguarding

 2   his unpublished newsgathering materials requires the Subpoena to be quashed. As a threshold

 3   matter, Californ ia state law applies because state law suppl ies the exclusive rule of decision for

 4   Plaintiffs' civil claims in the Arizona Actio n and because California has the greatest interest in

 5   protecting its j ournali sts. Cali fo rni a law provides two independent grounds fo r quashing the

 6   Subpoena. First, Mr. Meag her is entitled to the protections of the Californ ia Shield Law, which

 7   confers upon non-party journalists "virtually absolute protection against compelled disclosure" in a

 8   civil action. Mitchell, 37 Cal. 3d at 274. Second, Mr. Meagher also enjoys a distinct constitutional

 9   "qualified privilege to withhold disclosure of the identity of confidential sources and of

I0   unpubli shed information supplied by such sources," which Plaintiffs are unable to overcome. Id. at

11   279.

12             For these reasons, which are set forth in greater detail below, M r. Meagher requests that this

13   Court quash the Subpoena served o n him and release him fro m any obl igation to submit testimony

14   about the A rticles for use in the A rizona Action.

15   II.       FACTUAL STATEMENT

16             A.        T he Articles and Mr. Meagher's Related Journalistic Activities

17             Mr. Meagher is a professional journalist with 30 years of experience. For more than five

18   years, Mr. Meagher has covered the small and microcap stock brokerage industry for The Deal

19   Pipeline, a subscri bers-only financ ial news journal published on line by The Deal. Declaration of

     Wi ll iam Meagher (.. Meagher Deel.") ~2.
                                                 1
20                                                   John and Justine Hurry own numerous businesses that

21   operate in the micro-cap and small cap securities sector, including Scottsdale. See Huny v. FINRA,

22   No. CV- 14-02490-PHX-ROS, 20 16 U.S. Dist. LEX IS 90147 , at *3 (D. A ri z. A pr. 1, 20 16).

23   Between September 20 13 and May 20 15, M r. Meagher researched and wrote a series of articles tha

24   reported on Scottsdale's involvement in stock manipulation schemes, a multi-million dollar stock

25

26             1
               "S mall" and " m icrocap" refers to the relatively small market capitalizati on of the firms
27   whose stock is traded. Id. ~2 . Small and microcap stocks have traditionally presented much greater
     risk for investor fraud than other stocks since there tends to be less pub licly available information
28   and professional analysis than there would be for bigger companies. Id.

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     market fraud committed by Scottsdale clients and regulatory investigations into money laundering

 2   schemes relating to Scottsdale's Cayman Islands subsidiary.

 3            On September 13, 201 3, The Deal Pipeline published an article written by M r. Meagher

 4   entitled "Finra targets a dozen offshore firms suspecting [sic] of trading in pump-and-dumps."

 5   Meagher Dee l. Ex. B (the "September 13 A11icle"). The September 13 Article reported that FINRA

 6   had identified trad ing records ind icating that Scottsdale's offsho re clients may have used their

 7   trading accounts to perpetrate an illegal "pump-and-dump" scheme. Id.Ex.B at 2. 2

 8                  On December 6, 20 13, The Deal Pipeline published another ai1icle written by

 9   M r. Meagher enti tled "FBI, securiti es offi cials investi gating Scottsdale Capital, Alpine Securities,

1O   source says" (the '·December 6 A rticle"). 3 Id. Ex. C. In the course of researching the December 6

11   Arti cle, Mr. Meagher received credible informatio n from confidential source(s) that Scottsdale was

12   being investigated by the FB I and financial regulato rs in connectio n with another pump-and-dump

13   scam caITied out by Scottsdale customers. Id.    ~5 .   As reported in the December 6 A rticle,

14   Scottsdale clients based in Argentina o rchestrated a $32 million fraud by selling artificially

15   overvalued stock in B iozoom, a medical instruments company, thro ugh their Scottsdale brokerage

16   accounts.4 Id. Mr. Meagher's confi dential source(s) provided info rmation about the investigatio n

17   and how Scottsdale had treated its Biozoom clients, which was reported in the December 6 Article.

18   Id.

19

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21            2
                In a pump and dump scheme, the owners of cheaply purchased stock artific ially inflate the
22   stock's pri ce by making false o r misleading statements to investors and then sell the stock off at a
     profit at the expense of any investors still holding the worthless stock. Id. ~3. Inexperienced and
23   relatively poor in vestors are often targeted and taken advantage of by the fim1s running these
     schemes. Id.
24            3
               Alpine Securities is a U tah-based clearing firm contro lled by Scottsda le that handles the
25   sale of stock by Scottsdale cli ents.
              4
26            In January 20 15, a federal court sitting in the Southern Di stri ct of New York fo und at least
     six of Scottsdale's Biozoom cli ents liable for violating securities Jaw for their part in the Biozoom
27   pump and dump scheme. See SEC v. Tavella, 77 F. Supp. 3d 353, 358-59 (S. D.N.Y. 2015). The
     court ordered the guilty shareholders to disgorge millions of dollars of ill-gotten gains on top of
28   substantial civil penalties. Id. at 359-64.

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                                     On March 20, 20 14 and April 16, 20 14, The Deal Pipeline published two more articles

 2   by Mr. Meagher, which re-reported information about Scottsdale's Biozoom cl ients that

 3   Mr. Meagher obtained from his confidential source(s) and published in the December 6 Article (the

 4   "March 20 Article'· and "Apri l 16 Article," respecti vely). Id. Exs. D, E. The March 20 and

 5   April 16 Article also reported new developments in the Biozoom investigation and the April 16

 6   Article reported on a separate money laundering investigation into Plaintiffs' Cayman Is lands

 7   subsidiary. Id. Although not mentioned in the Subpoena, on May 28, 2016, The Deal Pipeline

 8   published an additional article by Mr. Meagher about the ongoing money laundering investigation,

 9   which also repeated claims about Scottsdale's Biozoom clients provided by Mr. Meagher's

1O confidential source(s) (the "May 28 Article"). Id. Ex. F.

11                                   Mr. Meagher is a resident of Californ ia and works out of The Deal ' s offices located in

12   Petaluma. Id.                         ~2 .       The Articles were entirely researched, written , and edited in California. Id. All

13   newsgathering activities were conducted while Mr. Meagher was in California. Id.                                   ~8.

14                      B.                  Pla intiffs' Arizona Lawsuit against FINRA

15                      The tortured history of the District of Arizona lawsuit that gave rise to the Subpoena at issu

16   here was helpfully summarized by the judge presiding over that case in her order dismissing with

17   prejudice all but two of the fourteen claims Plaintiffs ini tially lodged against FINRA. See Hurry,

18   20 16 U.S. Dist. LEXIS 90 147, at *3-4. Since the HwTys operate securities firn1s that do business

19   with the public, Plaintiffs are subject to the regulatory authority of FINRA and other securities

20   regulators. Id. In 20 12, FIN RA agents conducted a surpri se inspection of Scottsdale's

21   headquarters and seized numerous computers. Id. According to Plaintiffs, "FINRA began a

22   campai gn of escalati ng harassment against the Hurrys" shortly after the raid on Plaintiffs' offices

23   was carried out. Id. (internal quotation marks and citation om itted). As part of the alleged

24   campaign of harassment, Plainti ffs claim that FIN RA were responsible for " leaking non-public,

25   confidential, and fal se and misleading information to a reporter for [T]he Deal Pipeline, a financial

26   news and information service." Id. In other words, Plaintiffs have alleged that a FINRA agent
27   improperly ac1ed as Mr. Meagher' s confidential source for info rmat ion relating to the investigation

28   into Scottsdale's involvement in the fraud committed by its Biozoom clients.
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              In November 20 14, " the Hurrys and close to thirty of their companies" fi led suit in the

 2   United States Distri ct Court for the District of Arizona and brought a mix of fourteen state and

 3   federal claims against FINRA and Scott Andersen, who was FINRA's Deputy Regional Chief

 4   Counsel at that time (collectively, the "Defendants"). Id. at *4. Since Plaintiffs' federal claims

 5   predominated, the Arizona court initially exercised federal question jurisdiction over the Arizona

 6   Action. Defendants fi led a motion to dismiss P laintiffs' first amended complaint and, on August 5,

 7   2016, " the Court dismissed all fourteen claims based on a variety of legal and factual theories." Id.

 8   In disposing of Plaintiffs' first amended complaint, " [t]he Court granted leave to amend certain

 9   claims but denied leave to amend others." Id. Plaintiffs fil ed their second amended complaint on

IO   A ugust 28 , 20 15, w hich alleged the same fourteen state and federal claims. Id. Defendants again

11   moved to dismiss. Id. O n Apri l 4, 20 16, the Ari zona court d ismissed a ll of P laintiffs ' federal

12   claims for a second time and dismissed all but two of Plaintiffs' state law claims. Id. at *6-9. Si ne

13   there are no more federal claims before the Arizona court, its subj ect matter jurisdiction to

14   adjudicate the remaining state claim s must be predicated either on diversity or pendent jurisdiction.

15             The two remaining Arizona state claims allege defamation and false light invasion of

16   privacy. Id. at *9. Plaintiffs' theory ofliability is that "Defendants were providing true

J7   information to [Mr. Meagher] and, whi le doing so , Defendants were also providing [allegedly] false

18   information" that was reported in the Arti cles. Id. Assessi ng whether Plaintiffs' claims fu lfi lled

J9   the plausibility requirement of Federal Rule of Civil Procedure 12(b)(6), the Arizona court

20   expressed considerable doubt as to the validity of Plaintiffs' claims. id. at* 10. A lthough the

21   defamation and false lig ht claim s were ultimate ly deemed to have scraped past the plausibility

22   threshold, the Arizona court explicitly stated that "this is ... a very close call. Only by drawing all

23   reasonab le inferences in favor of Plaintiffs and giving Plaintiffs a very generous benefit of the

24   doubt are the defamation and false light claims barely plaus ible." id. Noting that it was "a stretch

25   to allow these claims to proceed," the Arizona court made clear that it would " very carefully
                                                                                                  5
26   circumscribe discovery to allow thi s case to quickly reach a resolution. Id. at * 10-11.

27
               5
             As part of its efforts to prune the Arizona Action of extraneous patties, the Arizona Court
28
     dismissed the claims brought by all but four of the initial plaintiffs. Arizona Action, Dkt. No. 156.
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               In August 20 16, proceedings before the District of Arizona were stalled by the withdrawal

 2   from the case of Pl aintiffs' counsel, who had determined that they were " ethicall y required to

 3   terminate their representation" of Plaintiffs for undisclosed reaso ns. Declaration of John M.

 4   Browning ('·B rowning Deel.") ~ I , Ex. A. Although Plaintiffs were able to engage new counsel by

 5   October 20 16, the parties have nevertheless fa iled to keep up wi th the discovery schedule imposed

 6   by the Arizona cou rt on November 8, 20 16. Id. ~2, Ex. B . Discovery is due to be completed by

 7   March I, 20 17, but a j o int status report fi led on Februar y 16, 20 17, reveals that "the major

 8   percipient w itnesses," including Mr. Andersen and two former Scottsdale employees, w ill not take

 9   place until sometime later in March at the earliest. Id.

10             c.        Related Litigation against Mr. Meagher and The Deal

11             On May 26. 2016, Plainti ffs opened up a second front of litigation through which Plaintiffs

12   soug ht to pressure Mr. Meagher into reveal ing the identity of his confidential source(s) fo r the

13   Artic les . On that date, John Hurry and Scottsdale fil ed suit aga inst Mr. Meagher and The Deal in

14   New York State Supreme Court and, in September, fi led a comp laint alleging that the May 28,

15   20 15 A rticle was defamatory (the "New York Comp laint"). Id. ~~3, 7, Ex. C. It is clear from the

16     ew York Compla int that Plainti ffs' primary strategic purpose in the litigation was to coerce

17   Mr. Meagher into revealing his confidentia l so urce(s) in the hopes that this information would

18   bolster Plaintiffs ' case against FINRA in Arizona. To this end, Plaintiffs alleged - w ithout any

19   identified factual or legal basis whatsoever - that Mr. Meagher's confidential sources were

20   individua ls "within FINRA or government regulatory agencies that have d iscussed confidential

21   information involving Plaintiffs" and that " the identity of such so urces would not be protected by

22   the NYS ' Shield ' laws" protecting the anonymity of confidential sources. Id.

23             Since New York confers an absolute pri vilege against forced disclosure of the identity of a

24   confidenti al source, The Deal and Mr. Meagher steadfastly refused to reveal the identity of any

25   confidenti al sources and notified Plaintiffs that they would fi le a moti on to d ism iss the New York

26   Comp laint for fa ilure to state a claim for defamation. Id. ~5. Apparentl y frustrated by their

27
     In addition, the parties stipulated to w ithdraw the claims against defendant Andersen. Id., Dkt. No.
28   140.

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     inabi lity to fe1Tet out the confidential source(s), Plaintiffs turned instead to litigation

 2   gamesmanship. Although they were fully aware that Defendants were filing a motion to dismiss,

 3   Plaintiffs waited to voluntarily dismiss the New York action, without warning, on the eve of

 4   Defendants' filing deadline. Id. ~7. By doing so, Plaintiffs sandbagged Defendants into spending

 5   considerable time and money on drafting motion papers that Plaintiffs had to know wou ld be

 6   unnecessary. Id.

 7             Less than a month later, on November 18, 2016, John Hurry and Scottsdale fi led a separate

 8   complaint against Mr. Meagher and The Deal with the Superior Court of New Hampshi re, which

 9   alleged that the December 9, March 20, and April 16 Articles gave rise to four claims:

1O ( 1) defamation, (2) fa lse light invasion of privacy, (3) intentional interference with contractual

11   relations, and (4) tortious interference with prospective economic advantage (the " ew Hampshire

12   Complai nt"). Id.      ~8.   Since nothing in the Articles or Plaintiffs' tortw-ed litigation history has even

13   the remotest connection with New Hampshire, the only plausible explanation for the New

14   Hampshire lawsuit is litigation gamesmanship and a desire to coerce Mr. Meagher into identifying

15   his confidential source(s). 6 After removing the case to the United States District Court for the

16   District of New Hampshire, The Deal and Mr. Meagher moved to dismiss for lack of personal

17   jurisd iction. That motion - which will be fu lly briefed on or before March 2, 2017 - is currently

18   pending. Id.     ~9.

19             D.        The Subpoena

20             Plaintiffs served Mr. Meagher with the Subpoena at issue here on February 14, 2017 -

21   nearly two and a half years after Plaintiffs commenced their lawsuit against FINRA. Meagher

22   Deel.~ I.      The Subpoena demands that Mr. Meagher appear for a deposition in San Francisco at

23   9:00 a.m. on March I, 2017. The Subpoena also demands that Mr. Meagher produce at his

24

25             6
                By filing suit in New Hampshire, Hurry and Scottsdale seek to profit fro m New
26   Hampshire's three-year statute of limitations. While the longer statute of lim itations opens up a
     libel suit to older articles barred by New York's one-year statute of limitations, the fact that they
27   abruptly withdrew the New York Complaint based on the May 28 Article containing substantially
     the same allegedly defamatory statements belies that gamesmanship was the true purpose of the
28   exercise.

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     depositi on all written communicati ons and documents relating to his sources for the Articles. Id.

2    Ex. A. It is evident that by this production and testimony that Plaintiffs intend to test their

 3   remaining state-law claims in the A rizona Action that FINRA acted as Mr. Meagher' s confidential

4    source. Id. Simply put, although Plaintiffs ' Arizona p.ction has been pending since 2014 and they

 5   had ample time to serve the Subpoena on Mr. Meagher, they have scheduled Mr. Meagher's

 6   deposition for the last day of the time allotted for discovery and have g iven him a mere two weeks'

 7   notice, knowing full well that Mr. Meagher intends to assert his reporters' privilege against

 8   testifying. See Browning Deel. ~x. C at 3 (Jo int Status Report indicating Plaintiffs anticipate "a
                                                                   7
 9   claim of a journalistic shield protection by Mr. Meagher").

10                                                ARGUMENT

11            Under the Federal Ru les of C ivil Procedure, " the court fo r the district where compliance is

12   required must quash or modify a subpoena that ... requires disclosure of privileged or other

13   protected matter ... o r subjects a person to undue burden." Fed. R. Civ. P. 45(d)(3)(A)(iii)-(iv).

14   For the reasons set forth more fully below, Mr. Meagher now moves to quash the Subpoena on the

15   grounds that California's statutory Shield Law immunizes him from being compell ed to testify and

16   that the qualified constitutional privilege prohibits forced disclosure of confidential information

I7   obtained in the process of newsgathering.

18

19

20

21   7
       In add ition to givi ng Mr. Meagher little time to respond to the Subpoena, Plaintiffs failed to abide
22   by Local Rule 30-1 of this Court, whic h requires a party noticing the deposition of a third-party
     wi tness to meet and confer about scheduling. Browning Deel. ~ I 0. Counsel for Plaintiffs did not
23   contact counsel for Mr. Meagher until after Plaintiffs received a letter putting them on notice that
     Mr. Meagher would move to quash the Subpoena. Id. Ex. 10, Ex. E. Plaintiffs' attorneys contacted
24
     counsel for Mr. Meagher for the first time on the morning before he was due to appear for
25   depos ition. Id. ~ 11 . On that call , Plaintiffs offered to withdraw the ir document requests if Mr.
     Meagher agreed to sit for deposition. Id. However, as counsel for Mr. Meagher explained, it
26   would vio late Mr. Meagher's rights as a journalist and exceed the " very carefully circumscribe[d)
     discovery'· required in the Arizona Action to force Mr. Meagher to sit th.rough a futile deposition at
27   w hich he would be privileged from disclosing any information pertinent to the Ari zona Action. Id.
     ~ 1 2- 1 3. For these reasons, Plaintiffs' offer was rejected and this motion was filed in order to
28
     safeguard Mr. Meagher' s rights. Id. ~ 1 3.
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     I.       CALIFORN IA ST ATE LAW GOVERNS THE DISPOSITION OF

2             MR. MEAGHER'S MOTION TO QUASH

3             State law is controlling here because the only two causes of action that survived

4    Defendants' motions to dismiss are Plaintiffs' state law claims for defamation and false light

5    invas ion of privacy, respectively. As the Ninth C ircuit has stated, " Federal Rul e of Evidence 501

6    provides that when a federal court hears a civil action in which state law provides the rule of

7    dec ision, ' the privilege of a witness, ... shall be determined in accordance with State law."' Star

8    Editorial, Inc. v. United States Dist. Ct. , 7 F.3d 856, 859 (9th C ir. 1993) (quoting Fed. R. Evid.

9    50 I). G iven that state law provides the exclusive rule of decision in the Arizona Action and given

10   that the only possible grounds for federa l subj ect matter jurisdiction are diversity or pendent

1I   jurisd iction, "the state law of pri vilege applies" to determine whether Mr. Meagher is immune from

12   being compelled to provide testimo ny concerning Plaintiffs' two surviving state law claims.

13   Shaklee Corp. v. Gunnell, 11 0 F.R.D. 190, 192 (N.D. Cal. 1986) (applying Cali fo rnia reporters

14   shield to subpoena issued by District of Utah seeking evidence from California reporter for use in

15   libel case); see also Star Editorial, 7 F.3d at 859 (applying California reporters' privilege to

16   defamation action removed to federal court because " [s]tate law w ill clearly provide the rule of

17   decision"); Bass v. First Pac. Networks Inc., 219 F.3d 1052, 105 5 n.2 (9th Cir. 2000) (" [A] federal

18   court exercising sup plemental jurisdiction over state law claims is bound to apply the law of the

19   fo rum state to the same extent as if it were exercising its diversity jurisdiction.").

20             California 's choice-of-law rules require this Court to appl y California law in quashing the

21   Subpoena. As a threshold matter, the California choice-of-law ana lysis should be applied instead

22   of the A rizona equi valent. Courts have held that, " where the court hearing the discovery dispute

     and the court hearing the underlying action differ, the court hearing the di scovery di spute must

24   app ly the choice of law rules of its forum. " Wolpin v. Philip Morris Inc., 189 F.R.D. 418 , 423

25   (C. D. Cal. 1999); see also Murphy v. Philip Morris Inc., C V 99-71 55-RAP, 2000 U.S. Dist. LEXIS

26   21128, at *3-4 (C.D. Cal. Mar. 17, 2000) ("Whi le Rule 501 of the Federal Rules of Evidence says

27   nothing about ' which states privilege law to apply when state law controls and the litigation has

28   contacts w ith two o r more states, . . . the majo rity of circuits apply the privilege law of the state that

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     would be chosen under the choice-of-law rules used by the state where the court sits.") (quoting 3

 2   Weinstein 's Federal Evidence§ 50 1.02[3] [b] (2d ed. 1999).

 3                "Cali fornia applies the 'governmental interest' analysis in choice-of-law questions." CRS

 4   Recovety, Inc. v. Laxton, 600 F.3 d 11 38, 1141-42 (9th Cir. 2010) (ci tation omitted). Under this

 5   approach, '·the forum will apply its own ru le of decisio n unless a party litigant timely invokes the

 6   law of a fo reign state. In such event he must demonstrate that the latter rul e of dec ision will further

 7   the interest of the fo reig n state and therefore that it is an appropriate one for the fo rum to apply to

 8   the case before it. " Wolpin, 189 F.R.D. at 423 (internal quotation marks and citations omitted).

 9   Assuming Plaintiffs intend to invoke the law of A rizona, they must fi rst demo nstrate that " there is

1O   in fact a conflict between the competing jurisdictions s ince there is obviously no problem where the

11   laws of the two states are identical." Kenneally v. Bosa Cal. LLC, No. 09-CV-2039 WQH JMA,

12   20 11 U.S. Dist. LEXIS 57903, at *8 (S .D. Cal. May 26, 2011) (internal quotation marks and

13   citation om itted). For the reasons set fo rth in greater detail below, the respective Cali forn ia and

14   A ri zona shi eld laws and const itutional reporters' privileges both prohibit the Court from

15   compelling Mr. Meagher to disclose the identity of his confidential source or the unpublished

16   information he obta ined in the course of hi s newsgathering acti vities. See infra 13 n. 8, 18 n.11.

17   Since the choice of law makes no difference to the outcome, California law sho uld apply.

18                But assuming arguendo that there are significant di ffe rences between the protections

19   conferred on reporters under Arizona and Cal iforn ia law, Cali fo rnia law should still apply because

20   Californ ia has the stronger interest in adjudicating this motion . " If both jurisdictions have a

21   legitimate interest in the application of their conflicting Jaws, the court should apply the Jaw of the

22   state whose interest would be the more impaired if its law were not applied ." Kenneally, 20 11 U .S.

23   Di st. LEX1S 57903, at *8 (q uoting Jn re Nucorp Energy Secs. Litig., 661 F. Supp. 1403, 14 12 (S .D.

24   Cal. 1987)). Mr. Meagher is a California resident, who researched and wrote the A rticles entirely

25   from Califo rnia. Meagher Deel.                ~~2;   8. The Califo rnia Supreme Court has recognized the

26   importance of investigati ve journalists like Mr. Meagher "as a vita l source of information."

27   Mitchell, 3 7 Cal. 3d at 274 (quoting Zeri/li v. Smith, 656 F.2d 705 (D.C. Cir. 1981 )); see also N. Y

28   Times, 51 Cal. 3d at 461 (applying Cali fornia pri vilege against compelled disclosure from non-
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     party jo urnalist). The Cali fornia Shield Law thus " reflects a stro ng interest in the Legislature and

 2   the people of this state to afford news persons the highest possible level of protection from

 3   compelled disclosure of confide ntial sources and confidential information." Playboy Enters., Inc.

 4   v. Superior Ct., 154 Cal App. 3d 14, 27 ( 1984)).

 5             In light of these clearly articulated concerns over the ability of Californ ia journal ists to

 6   protect their sources, the State of California has an extremely strong interest in protecting the

 7   ability of one of its citizens, Mr. Meagher, to continue his important work as an investigative

 8   financial journalist without fear of being forced to surrender his confidential sources. See also

 9   A1urphy, 2000 U.S. Dist. LEX IS 2 1128, at *4 ("Californi a has a significant interest in ensuring that

1O   its statutory provisions fo r confidentiality ... are vindicated"). According ly, Cali fornia law governs

11   under the Ca lifornia governmenta l interest test.

12   II.       CALIFORNIA'S STATUTORY REPORTERS' SHIELD PROHIBITS

13             ENFORCEMENT OF THE SUBPOENA

14             The Subpoena must be quashed because it confers upon non-party journali sts like

15   Mr. Meagher "virtua lly absolute protection against compelled disclosure" of unpublished

16   information relating to their newsgathering activities. Mitchell, 37 Cal. 3d at 274; see also

17   N. Y Times, 5 1 Cal. 3d at 461. Thi s protection is enshrined in both the California Constitution (art.

18   I, § 2, subd . (b)) and in a substantially identica l statute (Cal. Evid. Code § 1070). The statutory

19   authority provides that " [a] re porter, or other person connected with or employed upon a

20   newspaper, magazine or any other periodical publication . .. canno t be adj udged in contempt ... for

21   refusing to disclose ... the source of any information proc ured while so connected o r emp loyed for

22   publication in a newspaper, magazine o r other periodical publ ication, or fo r refusing to d isclose any

23   unpublished info rmation obtained or prepared in gathering, receiving or processing of information

24   fo r communication to the public." Cal. Evid. Code§ 1070. For the purposes of applying the

25   statute, "any other periodjcal publication" has been interpreted to include o nl ine jo urnals like The

26   Deal Pipeline. See 0 'Grady v. Superior Ct. , 139 Cal. App. 4th 1423, 1466 (2006) (ho lding that

27   California reporters' shield applies to "online news magazine[s]").

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                     The law specifically prohibits the Court from compelling M r. Meagher to reveal this

2    information at Plaintiffs ' behest. As a full-time reporter employed by a prominent online financial

3    j ournal, Mr. Meagher is clearly included in the class of people protected by the California Shield

4    Law. Meagher Deel.                              ~~2 ,       8. Moreover, the Subpoena calls exc lusively for information "obtained

5    or prepared in gathering" news, since Plaintiffs seek to compel Mr. Meagher to reveal confidential

6    info rmation he co llected in the course of researching and writing the Articles. id.                             ~9 ,   Ex. A

7    (Subpoena). Having met the statutory requirements, Mr. Meagher cannot be compelled to comply

 8   with the Subpoena by the threat or execution of a contempt judgment. See N. Y. Times, 5 1 Cal. 3d

9    at 461 ("We find nothing in the shield law's language or history to suggest the immunity from

IO   contempt is qualified such that it can be overcome by a showing of need for unpubli shed

11   information within the scope of the shield law.") ; Playboy , 154 Cal App. 3d at 27 ("order

12   compelling production of petiti oner's source materials and editorial drafts and working papers is

13   not enforceabl e by contempt. .. ") (quoting Mitchell, 37 Cal. 3d at 274). As the California Supreme

14   Court explained, " [s]ince contempt is generally the only effective remedy against a nonparty

15   Oournalist] , the Cali fo rnia enactments grant such witnesses virtually absolute protection against

16   compelled disclosure." N. Y. Times, 51 Cal. 3d at 46 1. At bottom, the Shield Law provides Mr.

17   Meagher with an "abso lute rather than a qualified immunity" against compelled disclosure of

18   unpublished newsgathering materials in civil cases, which bars the Court from compelling

19   Mr. Meagher to co mply wi th the Subpoena. Id. ; see also Miller v. Superior Ct., 2 1 Cal. 4th 883,

20   890 (1 999) ("The shield law is, by its own terms, absolute rather than qualified in immunizing a

21   newsperson from contempt fo r revealing unpubli shed information obtained in the newsgathering

22   process.").8

23
                     8
24             For the same reasons, Mr. Meagher would be entitled to an absolute privilege against
     compelled disclosure under Arizona' s statutory reporters' shield . That statute provides that a
25   " person engaged in ... reportorial work, or connected w ith or empl oyed by a newspaper ... shall
     not be compelled to testi fy or disclose in a legal proceeding ... the source of information procured
26   or obtained by him for publication in a newspaper ... with which he was associated or by which he
     is employed." Ariz. Rev. Stat. § 12-2237; see also Matera v. Superior Ct., 170 Ariz. 446, 449
27   (Ariz. Ct. App. 449) (Ari zona reporters' shield statute "protects members of the medi a from being
     compelled to testify about or otherwise disclose confidential sources utili zed during the
28   newsgathering process").                 ·

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                    The fact that California courts have construed the statuto ry re porters' shield narTow ly as " an

 2   immunity fro m contempt, not a privilege" does not divest this Court of its power to quash the

 3   Subpoena. N. Y. Times, 51 Cal. 3d at 459. In New York Times, the California Supreme Court

 4   determined that it was premature for a non-party journalist to move for relief under the Shield Law

 5   before the " news person has been adjudged in contempt." Id. In li ght of thi s precedent, it is likely

 6   that Plaintiffs w ill attempt to argue that Mr. Meagher should allow himself to be found in contempt

 7   of court before seeking relief. However, invoking such procedure would result in the very same

 8   end game : the ultimate quashing of the subpoena and an order preventing Mr. M eagher's

 9   testimo ny and prod uctio n. The Federal Rules of Civil Procedure "should be construed,

1O   administered and employed by the court ... to secure the just, speedy, and inexpensive

11   determination of every action and proceeding" Fed. R. C iv. P. 1. Subject to thi s overarching

12   principle, the same rules also dictate that the Court "must quash . . . a subpoena that ... subjects a

13   person to undue burden." Id. 45(b)(3 )(A)(iv) . The spirit and substance of these rules dictate that

14   the Court grant thi s Motion in order to liberate Mr. Meagher from the undue burden of placing

15   himself at ri sk of impri sonment or other sanctio ns stemming from his entirely justified refusal to

16   comply w ith the Subpoe na. Moreover, by declining to quash the Subpoena at thi s juncture on the

17   basis of a procedural technicality, the Court would reward Plaintiffs' campaign of litigatio n

J8   gamesmanship, which has already saddled Mr. Meagher and hi s employer with the considerable

19   effort and expense of defending two meritless defamation lawsuits. See Browning D eel. ~~4-9 .

20                   In sum, the Californ ia Shield Law vests Mr. Meagher w ith protections that amount to an

21   absolute pri vilege against being compelled to testify about his confi dential sources or to produce

22   his unpublished newsgathering materials. In order to vindicate Mr. Meagher's rights without

23   forcing him to jump through needless procedural hoops, the Court should fulfil the guarantees of

24   the California Shie ld Law by taking this opportunity to quash the Subpoena.

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     Ill.      THE REPORTERS' PRIVILEGE ESTABLISHED UNDER THE FEDERAL AND

 2             CALIFORNIA CONSTITUTIONS INDEPENDENTLY REQUIRES THE COURT

 3             TO QUASH THE SUBPOENA

 4             Even assuming for purposes of this mo ti on that the California state pri vilege does not

 5   effecti vely bar enforcement of the Subpoena (it does), a qualified constitutio nal privilege

 6   independentl y prohibits Plaintiffs from compelling Mr. Meagher to identify his confidential

 7   source(s) or turn over his unpublished jo urnalistic work product.

 8             The United States Supreme Court has recogni zed that journalists have "constitutional rig hts

 9   wi th respect to the gathering of news or in safeguarding their sources." Branzburg v. Hayes, 408

IO   U .S. 665, 709 (1 972) (Powell, J ., concurring) . Drawing on this constitutiona l right, the California

11   Supreme Court has held that "in a civil actio n a reporter, editor, or publisher has a qualified

12   privilege to w ithhold disclosure of the identity of confidential sources and of unpubli shed

13   informati on supplied by such sources." Mitchell, 37 Cal. 3d at 279. The California Supreme Court

14   also stressed that compelled disclosure from a non-party j ournalist "should by no means be

15   auto matic in libe l cases" such as thi s. Id. at 280. Rather, a ri gorous show ing is required to

16   overcome the qualifi ed privil ege, w hich will "depend upo n the consideration and weighing of a

17   number of interrelated factors." Id. at 279. For the reasons that fo llow, the Subpoena must be

18   quashed because Plaintiffs are unable to shoulder the ir burden as to any of the fi ve relevant factors

19   identified by the California Supreme Court in M itchell.9

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21             9
                A lthough federaJ law does not apply here with respect to the scope of Mr. Meagher' s
22   privilege, cases applying the federal analogue to California' s qualified reporter' s privilege are
     nonetheless instructive since, as one court noted, " Califo rnia law and federal common law appear
23   to coincide ." Los Angeles Mem 'l Coliseum Comm 'n v. NFL , 89 F.R.D . 489, 495 (C. D. Cal. 1981 ) .
     Accordingly, the N inth Circuit has articulated a substantially similar qualified pri vilege under the
24   First Amendment. U nder this formulation, a litigant may overcome the reporter' s privilege "only
     upo n a showing that the requested material is : ( I ) unavailable despite exhaustion of all reasonable
25   sources; (2) no ncumulative; and (3) clearly relevant to an impo1tant issue in the case." Shoen v.
     Shoen, 48 F.3d 41 2, 416 (9th Cir. 1995) ("Shoen IF'). Consistent with the practice of California
26   courts, federal co urts apply this test strictly to "ensure that co mpelled di sclosure is the excepti on,
     no t the rule." Id. See also Zerilli, 656 F.2d at 712 (" [I]f the priv ilege does not prevail in all but the
27   most exceptional cases, its value will be substantially dimini shed."). For the same reasons
     Plaintiffs cannot overcome the Cali fornia qualified privilege set forth below, Plaintiffs would also
28   be unable to overcome the federa l common law privilege, assuming arguendo that it applied.

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               First, the law strongl y disfavors compelling non-party journa lists like Mr. Meagher to

 2   testify since " the scope of the privilege depends on ... whether the repo1ter is a party." Id. While

 3   d isclosure may be appropriate in civil cases "when the reporter is a party to the litigatio n," the

 4   California Supreme Court has excluded non-party journalists from this category and suggested that

 5   the qualified privilege bars compelled disclosure against non-parties even if other facto rs weigh

 6   against imposing the qualified privilege. Id. at 279 ("In Cal iforn ia, where a shield law prevents the

 7   use of contempt to enforce disclosure orders .. . compelling d isclosure from a no n party reporter

 8   may be impractical even in a case in which other considerations argue in favor of d isclosure."). In

 9   any event , it is clear that the non-party status of a j ournalist " obviously favors nondisclosure."

I0   0 'Grady, 139 Cal. A pp. 4th at 1469. Accordingly, the fact that Mr. Meagher is no t a pa1ty to the

11   Arizona Action weighs heavi ly (if not dispositively) in favor of quashing the Subpoena.

12             Second, the law imposes - and courts routinely enforce - a stringent requirement that

13   "discovery should be denied unless the plaintiff has exhausted all alternati ve sources of obtaining

14   the needed informati on." Mitchell, 37 Cal. App. 3d at 282; see also O 'Grady, 139 Cal. App. 4th at

15   147 1 (failure by the party seeking disclosure to demonstrate that he or she has ·'exhausted all

16   alternative sources of obtaining the needed information weighs decisively against disc losure")

17   (internal quotation marks and citation omitted). Courts applying the essentially identical federal

18   qualified pri vilege exhaustion requirement have also refused to enforce subpoenas for fa ilure to

19   demonstrate exha ustion of alternate sources of information. See, e.g., Shoen v. Shoen, 5 F.3d 1289,

20   1297-98 (9th Cir. 1993) (''Shoen I") (privilege baffed enforcement of subpoena served on author

21   where party had not deposed the " most patentl y available other source"); Condit v. National

22   Enquirer, Inc., 289 F. Supp. 2d 11 75 , 1181 (E.O. Cal. 2003) (noti ng that "[t)he fa ilure to exhaust

23   alternative sources is a crucial and necessar y condition, and therefore, is dispositive" and holding

24   that " [b)ecause the condition of exhaustion has not been met, the protection fro m d isclosure

25   remains intact"); Michael v. Estate of Kovarbasich, No. CV 15-00275-MWF (ASx), 2015 U.S.

26   Dist. LEXIS 16890 I, at * 10-1 1 (C. D. Cal. Dec . 11 , 20 15) (refusing to compel production of

27   newsgathering materials fo r fai lure to exhaust alternate sources of info rmation). At bottom,

28   '.'compulsory d isclosure of sources is the last resort, perm issible onl y when the party seeking

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     di sclosure has no othe r practical means of obtaining the information." Mitchell, 37 Cal. 3d at 282

2    (internal quo ta ti on marks and citatio ns o mitted) .

3              Here, the joint sta tus report fi led in the Arizona Acti on reveals that none of "the major

4    pe rcipi ent witnesses" in the case have been deposed yet, including the FINRA agent responsible for

 5   allegedl y harassing Plainti ffs, othe r FINRA e mployees w ith knowledge of its investigatio n and

6    several fo rmer employees of Scottsdale. Browning Deel. ~2 , Ex. B. Plaintiffs certainly cannot be

 7   permitted to depose M r. Meagher before testing their theory that FINRA was a confidential source

 8   by deposing the FIN RA agent a nd others w ith knowledge of the regulatory investigations into

 9   Scottsdale's involveme nt into market fraud committed by its clients, whi ch was the subject of Mr.
                                 10
1O   Meaghe r's Articles.             Simply put, in " the absence of a showing that alternative sources had been

11   exhausted," Plainti ffs ' Subpoena must be quashed. Mitchell, 37 Cal. 3d at 284.

12             T hird, since this Court "should consider the importance o f protecting confidentiality in the

13   case at ha nd," the p ublic importance of Mr. Meagher' s re porting on Scottsdale's involvement in

14   major fi nancial fra ud weighs heavily against e nfo rcing the Subpoena. Id. at 282. As the California

J5   Court of Appeal has explained, the " investi gation and revelation of hidden criminal or and

16   unethical conduc t is o ne of the most important roles of the press in a free society - a role that may

17   depe nd upon the abi lity of the press and the courts to protect sources who may justifiably fear

18   exposure and possible retaliatio n." Id. at 283. Here, the confidential source(s) contributed

19   pertinent info rmatio n tha t was included in Arti cles about a the n-ongoing investigatio n into

20   Scottsd ale's invo lvement in a multi-millio n do llar fraud pe rpetrated by its clie nts. Meaghe r Deel.

21   Exs. C , D, E. Moreover, the scorc hed eart h litigation tactics Plaintiffs have advanced against M r.

22   Meagher and The Deal thus far g ive rise to a real possibil ity that M r. Meaghe r's confidential

23   source(s) would be subject to re taliation if his or her identity became known. Since the

24   " information [at issue] relates to matters of great public importance" and " the risk of harm to the

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                  Of course, Mr. Meagher could not be compell ed to testify on the ground s that a nother
27    person might waive his priv ilege by disclosing the ide ntity of a confidential source. "T he
     j o urnalist's p rivilege belongs to the j ournalist alone a nd cannot be waived by pe rsons other tha n the
28   j o urnalist. " Los Angeles Mem '!Coliseum, 89 F.R.D . at 494.

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     source is a substantial one, the court may ref·use to require disclosure even though [Plaintiffs have]

2    no other way of obtaining essential information." Mitchell, 37 Cal. 3d at 283 .

 3             Fourth, Plaintiffs cannot show that the vast maj ority of the information sought by the

4    Subpoena "goes to the heart" of their claim, as they are required to do in order to overcome

 5   Mr. Meagher' s qualified privilege. Id. at 281. At this point, the Arizona Action turns entirely on

 6   whether defendant FINRA was Mr. Meagher' s source, since Plainti ffs ' defamation and false light

 7   claims against FIN RA are only actionabl e if FINRA made the allegedl y libelous statements

 8   reported in the Articles. In thi s context, Mr. Meagher' s testimony is relevant only to the extent to

 9   which he can confirm or deny that FINRA was his confidential source. The qualified privilege thus

1O precludes the Court from enfo rcing the Subpoena to the extent that it call s for information umelated
11   to Mr. Meagher's alleged conversations with FINRA. Since the "discovery sought by [P]laintiffs is

12   .. . quite broad, and is not limited to sources whose info rmation relates to the alleged libelous

13   statements," Mr. Meagher's quali fied privilege bars compelled di sclosure of the vast majority of th

14   testimony and materials demanded by the Subpoena. Id. at 282. Moreover, depending on whether

15   the party depositions substantiate or di sprove Plaintiffs allegations that FINRA was Mr. Meagher' s

16   confidential source, Mr. Meagher' s testimony may be " merely cumulative" and thus not subject to

17   compelled discovery. United States v. Burke, 700 F.2d 70, 77-78 (2d Cir. 1983); see also Shoen JI,

18   48 F.3d at 4 17 (federal qualified pri vi lege bars compelled di sclosure when " the requested material

19   is ... cumulati ve").

20             Fifth (and finally), Plaintiffs cannot compel Mr. Meagher to comply with the Subpoena

21   unless they can "make a prima facie showing that the alleged defamatory statements are false. "

22   Mitchell, 37 Cal. 3d at 283. The California Supreme Court explai ned that the fa lsity of statements

23   at issue in a defamation claim "should be drawn into questio n and established as a jury issue before

24   discovery is compelled because to routinely grant motions seeking compulsory disc losure without

25   first inquiring into the substance of a libel all egation would utterly emascul ate the fundamental

26   principles [of First Amendment jurisprudence]." Id. at 283 (internal quotation marks and citations

27   omitted). Simply put, Plaintiffs must set fo1th evidence demonstrating the fa lsity of the statements

28   in the Articles attributed to Mr. Meagher's confidential source(s) before proceeding to enforce the
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         Subpoena. Plaintiffs have so far fa iled to do this and must remedy the defect with the benefit of

     2   discovery in the Arizona Action before enforcing the Subpoena against Mr. Meagher. 11

     3                   In sum, since Plaintiffs are unable to satisfy any of the five elements required to overcome

     4   the qualified constitutional privilege that immunizes Mr. Meagher from compelled disclosure, the

     5   Subpoena must be quashed.

     6   IV.             CONCLUSION

     7                   Because Cali forn ia's Shield Law makes it impossible to co mpel Mr. Meagher to comply

     8   with the Subpoena and because Plaintiffs cannot satisfy the stringent test necessary to unseat the

     9   qualified privilege enshrined in the Cali fornia and Federal constitutions, Mr. Meagher respectfully

1O requests that this Cou11 quash the Subpoena .

11       Dated: February 28, 20 17                                 DA V IS WRIGHT TREi\lfA I E   LLP
                                                                   THOMAS R. BU RKE
12                                                                 ELIZABETH A. MC AMARA~         ·o hac vice forthcoming)
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14                                                                  By:   u   YL= {( . I
                                                                          Thomas R. Burke
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                                                                   Attorneys for Non-Party Journa list William Meagher
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                    Mr. Meagher would also enjoy a constitutio nal privilege against compelled disclosure if
25       Arizona law applied here (which it does no t). The Arizona Court of Appeals has recognized the
         existence of a federal constitutional pri vilege for newsgathering. Matera, 170 Ariz. at 449. Under
26       this version of the constitutio nal privilege, courts are empowered to g rant a motion to quash when
         "compliance w ith a subpoena would either result in di sclosure o f confidential in formation or
27       sources o r would seriously interfere with the news gathering and editorial process." Bartlett v.
         Sup erior Ct., 150 A riz. 178, 182 (Ariz. Ct. App. 1986). Mr. Meagher would be privi leged from
28       complying with the Subpoena under this rubric.

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